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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF COLORADO


 In re:                                                     Case No. 13-30277-TBM
          MATTHEW R DOLLOFF

                     Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Douglas B. Kiel, Chapter 13 Trustee, submits the following Final Report and Account of
 the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The Trustee declares as
 follows:

          1) The case was filed on 12/11/2013.

          2) The plan was confirmed on 04/30/2014.

          3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
 NA .

        4) The Trustee filed action to remedy default by the debtor in performance under the
 plan on 07/14/2015, 11/30/2015, 03/07/2016, 02/06/2017, 09/13/2017, 01/11/2018, 05/23/2018.

          5) The case was completed on 05/30/2018.

          6) Number of months from filing to last payment: 54.

          7) Number of months case was pending: 57.

          8) Total value of assets abandoned by court order: NA .

          9) Total value of assets exempted: $370.00.

          10) Amount of unsecured claims discharged without payment: $18,049.19.

          11) All checks distributed by the Trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor             $5,940.00
        Less amount refunded to debtor                         $110.00

 NET RECEIPTS:                                                                                  $5,830.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                              $3,591.00
     Court Costs                                                            $0.00
     Trustee Expenses & Compensation                                      $385.98
     Other                                                                  $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                              $3,976.98

 Attorney fees paid and disclosed by debtor:                $44.00


 Scheduled Creditors:
 Creditor                                    Claim         Claim            Claim       Principal      Int.
 Name                             Class    Scheduled      Asserted         Allowed        Paid         Paid
 ALTERNATIVE REVENUE SYSTEMS Unsecured           204.00           NA              NA            0.00       0.00
 AMERICAN INFOSOURCE LP        Unsecured         300.00        393.20          393.20          64.78       0.00
 AURORA MUNICIPAL COURT        Unsecured         800.00           NA              NA            0.00       0.00
 BUSINESS REVENUE SYSTEMS INC Unsecured          256.00           NA              NA            0.00       0.00
 CAPITAL ONE                   Unsecured           0.00           NA              NA            0.00       0.00
 CAREPOINT PC                  Unsecured          91.44           NA              NA            0.00       0.00
 CENTURYLINK BANKRUPTCY GROU Unsecured           100.00        193.10          193.10          31.81       0.00
 EMERGENCY PHYSICIANS AT PORTE Unsecured         440.00        444.08          444.08          73.16       0.00
 INTEGRAL RECOVERIES           Unsecured         284.65           NA              NA            0.00       0.00
 NEW SWEDISH MEDICAL CENTER    Unsecured      2,219.87       2,219.87        2,219.87        365.73        0.00
 NEW SWEDISH MEDICAL CENTER    Unsecured      2,219.00       2,222.80        2,222.80        366.21        0.00
 NEW SWEDISH MEDICAL CENTER    Unsecured            NA       3,602.93        3,602.93        593.59        0.00
 PROFESSIONAL FINANCE          Unsecured      2,193.39            NA              NA            0.00       0.00
 RADIOLOGY IMAGING ASSOCIATES Unsecured           11.50           NA              NA            0.00       0.00
 REVENUE ENTERPRISES           Unsecured         703.00           NA              NA            0.00       0.00
 SPRINGMAN BRADEN WILSON & PON Unsecured       4,110.92           NA              NA            0.00       0.00
 USAA FEDERAL SAVINGS BANK     Unsecured      2,171.00       2,171.33        2,171.33        357.74        0.00




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  Summary of Disbursements to Creditors:
                                                               Claim            Principal           Interest
                                                             Allowed                Paid               Paid
  Secured Payments:
        Mortgage Ongoing                                         $0.00             $0.00              $0.00
        Mortgage Arrearage                                       $0.00             $0.00              $0.00
        Debt Secured by Vehicle                                  $0.00             $0.00              $0.00
        All Other Secured                                        $0.00             $0.00              $0.00
  TOTAL SECURED:                                                 $0.00             $0.00              $0.00

  Priority Unsecured Payments:
         Domestic Support Arrearage                              $0.00             $0.00              $0.00
         Domestic Support Ongoing                                $0.00             $0.00              $0.00
         All Other Priority                                      $0.00             $0.00              $0.00
  TOTAL PRIORITY:                                                $0.00             $0.00              $0.00

  GENERAL UNSECURED PAYMENTS:                              $11,247.31          $1,853.02              $0.00


 Disbursements:

          Expenses of Administration                              $3,976.98
          Disbursements to Creditors                              $1,853.02

 TOTAL DISBURSEMENTS :                                                                         $5,830.00


         12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
 the estate has been fully administered, the foregoing summary is true and complete, and all
 administrative matters for which the Trustee is responsible have been completed . The Trustee
 requests a final decree be entered that discharges the Trustee and grants such other relief as may
 be just and proper.

 Dated: 09/10/2018                             By:/s/ Douglas B. Kiel
                                                                 Chapter 13 Trustee

 STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
 exemption 5 C.F.R. § 1320.4(a)(2) applies.




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